447 F.2d 986
    Consuelo Lara DE ESQUIVEL, Individually and as Next Friendof Louis Carlos Esquivel, a Minor, Plaintiff-Appellant,v.CITY OF SAN ANTONIO, Defendant-Appellee.No. 71-2078 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5 Cir., 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Sept. 10, 1971.
    
      Harold D. Putman, San Antonio, Tex., for plaintiff-appellant.
      Bernard Ladon, San Antonio, Tex., for defendant-appellee.
      Appeal from the United States District Court for the Western District of Texas; John H. Wood, Jr., Judge.
      Before COLEMAN, SIMPSON, and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir.,1970, 430 F.2d 966
      
    
    